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                                                            Wednesday, 07 February, 2018 09:45:00 PM
                                                                        Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )        Crim. No. 17-20037
                                           )
BRENDT A. CHRISTENSEN,                     )
                                           )
       Defendant.                          )

                      MOTION TO UNSEAL DOCKET ENTRY # 32

       Counsel moves the Court to enter an Order unsealing Docket Entry # 32, which

was sealed by the Court on November 7, 2017. On January 15, 2018, Mr. Christensen

filed a motion to allow counsel access to Docket Entry # 32 “both to determine whether

the document is properly sealed and, more important, the potential impact the

document may have on issues previously presented or likely to be presented in the

future in this case.” (R. 37 at 6) On January 18, 2018, the Court granted Mr.

Christensen’s motion for counsel to have access to the sealed document filed at Docket

Entry # 32. Based on counsel’s review of the document, he requests the Court unseal

Docket Entry # 32 as it affects the disposition of matters in this litigation and is

therefore presumptively open to the public.

       The document impacts both issues presented to the Court at the time it was filed

and sealed, and issues pending now. Mr. Christensen is simultaneously filing a motion

to recuse the Court based on the appearance of partiality that has arisen from the




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contents of the document and the Court’s action in preventing counsel from viewing the

document earlier.

       Public access to judicial documents is protected by a common law right of access

and is “firmly rooted in our nation’s history.” Lugosch v. Pyramid Co. of Onondaga, 435

F.3d 110, 119 (2d Cir. 2006). The Supreme Court has consistently recognized this right of

public access. See Nixon v. Warner Communications, Inc., 435 U.S. 589, 597 (1978) (internal

citation omitted)(it is “clear that the courts of this country recognize a general right to

inspect and copy public records and documents, including judicial records and

documents.”); Smith v. United States District Court for the Southern District of Illinois, 956

F.2d 647, 649-50 (7th Cir. 1992) (“The federal common law right of access to judicial

records and documents is well recognized.”).

       This “[a]ccess to records serves the important functions of ensuring the integrity

of judicial proceedings in particular and of the law enforcement process more

generally.” United States v. Hubbard, 650 F.2d 293, 314-15 (D.C. Cir. 1981), and permits

the public to monitor the actions of both the court and the government, especially in

matters of public interest. United States v. Amodeo, 71 F.3d 1044, 1048 (2d Cir. 1995);

Lugasch v. Pyramid Co., 435 F.3d at 119; Smith v. District Court, 956 F.2d at 650 ((common

law right of access enables “the citizenry to appraise the judicial branch.”).

       The values protected by the common law right of access to judicial records are

similar to those underlying provisions of both the First and Sixth Amendments. See Met

Life, Inc. v. Financial Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017)(“Like

the First Amendment, then, the right of inspection serves to produce an ‘informed and


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enlightened public opinion’”), quoting United States v. Mitchell, 551 F.2d 1253, 1258 (D.C.

Cir. 1976)(internal citation omitted), rev’d on other grounds sub nom. Nixon v. Warner, 435

U.S. 589 (1978); Washington Post v. Robinson, 935 F.2d 282, 287 (D.C. Cir. 1991)(Absent

compelling reasons otherwise, “[t]he First Amendment guarantees the press and the

public a general right of access to court proceedings.”). “And, like the public trial

guarantee of the Sixth Amendment, the common law right of access serves to ‘safeguard

against any attempt to employ our courts as instruments of persecution,’ to promote the

search for truth, and to assure ‘confidence in ... judicial remedies.’ Metlife, Inc., 865 F.3d

at 665, quoting United States v. Mitchell, supra.

       The right of access applies to pretrial proceedings, Smith v. District Court, 956

F.2d at 650. Although countervailing interests may prevail in limited circumstances,

there is a “strong presumption in favor of public access to judicial

proceedings.” Hubbard, 650 F.2d at 317; Hardaway v. D.C. Housing Auth., 843 F.3d 973,

980 (D.C. Cir. 2016); see also United States v. Corbitt, 879 F.2d 224 (7th Cir. 1989).

              “This presumption of openness may be overcome only by an
              overriding interest based on findings that closure is essential
              to preserve higher values and is narrowly tailored to serve
              that interest. The interest is to be articulated along with
              findings specific enough that a reviewing court can
              determine whether the closure order was properly entered.”

Press-Enterprise Co. Superior Court of California, Riverside County, 464 U.S. 501, 510 (1984);

see also Globe Newspaper Co. v. Superior Court for Norfolk County, 457 U.S. 596, 606–07

(1982)(“Where ... the State attempts to deny the right of access in order to inhibit the

disclosure of sensitive information, it must be shown that the denial is necessitated by a



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compelling governmental interest, and is narrowly tailored to serve that interest.”);

Lugosch v. Pyramid, 435 F.3d at 120 (“[d]ocuments may be sealed if specific on-the-record

findings are made, demonstrating that closure is essential to preserve higher values and

is narrowly tailored to serve that interest.”), quoting In re New York Times Co., 828 F.2d

110, 116 (2d Cir. 1987); Washington Post v. Robinson, 935 F.2d 282, 287 (D.C. Cir.

1991)(“compelling reasons” required to overcome the right of access to judicial

documents.”); see also Local Rules Central District of Illinois, Criminal Rule: 49.9(A)(2)

(disapproving as a general matter of filing documents under seal and requiring an

explanation of why proposed sealed documents meets legal standards for closure).1

       “Documents that affect the disposition of federal litigation are presumptively

open to public view, even if the litigants strongly prefer secrecy, unless a statute, rule or

privilege justifies confidentiality.” In re Specht, 622 F.3d 697, 701 (7th Cir. 2010). “This

transparency ‘enable[s] interested members of the public . . . to know who’s using the

courts, to understand judicial decisions, and to monitor the judiciary’s performance of

its duties.’” City of Greenville, Ill. V. Syngenta Crop Protection, LLC, 764 F.3d 695, 697 (7th

Cir. 2014) (quoting Goesel v. Boley International (H.K.) Ltd., 738 F.3d 831, 833 (7th Cir.

2013) (chambers opinion)).

       The Court viewed the document before making the decision to file it under seal,

without access to the parties. The document related to matters pending before the Court



																																																								
1	Local Rules 49.9(B) and (C) suggest that the same standards apply to ex parte documents and

documents submitted for in camera review.



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at the time it was filed. Additionally, the document affects the disposition of Mr.

Christensen’s motion to recuse the Court. The document, and the Court’s handling of

the document, forms the basis of the motion. The public cannot understand the motion

to recuse without access to the document that forms the basis of the motion. Indeed, the

motion to recuse itself must be filed under seal as it by necessity discusses the sealed

document contained in Docket Entry # 32.2 Because the document affects the litigation

in this case, it is presumptively open to the public. Mr. Christensen is aware of no

statute, rule or privilege that justifies keeping the document filed at Docket Entry # 32

sealed. As the Court has made no specific finds justifying sealing the document (it does

not appear that anyone asked that the document be kept secret), it must be unsealed.

             For the above reasons, counsel moves the Court to enter an Order unsealing

Docket Entry #32.




																																																								
2Should the Court grant the motion to unseal Docket Entry # 32, it should also unseal the
motion to recuse.
	


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                                    Respectfully submitted,

                                    BRENDT A. CHRISTENSEN, Defendant

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                              CERTIFICATE OF SERVICE

      I hereby certify that on February 7, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.

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